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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF OHIO
WESTERN DIVISION
UNITED STATES OF AMERICA,
Plaintiff,

vs.
Case No. 1:20-mj-00525

LARRY HOUSHOLDER
Defendant.

ORDER REGARDING USE OF VIDEO CONFERENCING/TELECONFERENCING

Pursuant to the CARES Act H.R.748 § 15002 et seq, and in accordance with General Order 20-07, this
Court finds that the Defendant (or the Juvenile), after consultation with counsel, has consented to the use

of video conferencing to conduct the Initial Appearance held today.

Accordingly, the proceeding held on this date may be conducted by:

¥ video teleconference

teleconference, because video teleconferencing is not reasonably available for the

following reasons:

that the defendant is detained at a facility that is lacking video
teleconferencing capability.

other.

IT IS SO ORDERED.

Ye lu dd Gols
tephanie K. Bowma

United States Magistrate Judge

 

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